                      Case 1:22-cv-00132-JDB Document 1-4 Filed 01/20/22 Page 1 of 4

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


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                                                                    IRUWKH
                                                           District of Columbia
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   NATIONAL PFAS CONTAMINATION
  COALITION, SIERRA CLUB, and UNION
     OF CONCERNED SCIENTISTS,
                            3ODLQWLII V
                                 Y                                           &LYLO$FWLRQ1R 22-132
  U.S. ENVIRONMENTAL PROTECTION AGENCY
  and MICHAEL REGAN, in his official capacity as
   Administrator of U.S. Environmental Protection
                      Agency,
                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV U.S. Environmental Protection Agency
                                          Office of General Counsel, Mail Code 2310A
                                          1200 Pennsylvania Ave, N.W.
                                          Washington, DC 20460




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
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ZKRVHQDPHDQGDGGUHVVDUH Eve C. Gartner                          Amy Chyao
                                          Earthjustice                        Earthjustice
                                          48 Wall Street, 19th Fl             48 Wall Street, 19th Fl
                                          New York, NY 10005                  New York, NY 10005
                                          (212) 845-7381                      (212) 284-8031


       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
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'DWH
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                      Case 1:22-cv-00132-JDB Document 1-4 Filed 01/20/22 Page 2 of 4

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                      Agency,
                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV ATTN: Civil-Process Clerk
                                          U.S. Attorney's Office for District of Columbia
                                          555 4th Street, NW
                                          Washington, DC 20530




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

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                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV Michael Regan, Administrator
                                          U.S. Environmental Protection Agency
                                          Office of the Administrator, Mail Code 1101A
                                          1200 Pennsylvania Ave, N.W.
                                          Washington, DC 20460



          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

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                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV Merrick B. Garland, Attorney General
                                          United States Department of Justice
                                          950 Pennsylvania Avenue, NW
                                          Washington, DC 20530




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

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